Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 1 of 25 PageID: 875




NOT FOR PUBLICATION

                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


   WAG ACQUISTION, LLC,
                   Plaintiff,              Civil Action No. 14-2340 (ES) (JAD)
                   v.                       OPINION & ORDER
   MULTI-MEDIA, LLC, et al.,
                   Defendants.



   WAG ACQUISTION, LLC,
                   Plaintiff,              Civil Action No. 14-1661 (ES) (JAD)
                   v.                      OPINION & ORDER
   SOBONITO INVESTMENTS, LTD., et al.,
                  Defendants.



   WAG ACQUISTION, LLC,
                   Plaintiff,              Civil Action No. 14-2345 (ES) (JAD)
                   v.                      OPINION & ORDER
   DATA CONVERSIONS, INC., et al.,
                  Defendants.




                                      1
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 2 of 25 PageID: 876




   WAG ACQUISTION, LLC,
                    Plaintiff,             Civil Action No. 14-2674 (ES) (JAD)
                    v.                     OPINION & ORDER
   FLYING CROCODILE, INC., et al.,
                  Defendants.



   WAG ACQUISTION, LLC,
                    Plaintiff,             Civil Action No. 14-2832 (ES) (JAD)
                    v.                     OPINION & ORDER
   GATTYÁN GROUP S.a r.l., et al.,
                  Defendants.



   WAG ACQUISTION, LLC,
                    Plaintiff,             Civil Action No. 14-3456 (ES) (JAD)
                    v.                     OPINION & ORDER
   FRIENDFINDER NETWORKS, INC., et al.,
                  Defendants.



   WAG ACQUISTION, LLC,
                    Plaintiff,             Civil Action No. 14-4531 (ES) (JAD)
                    v.                     OPINION & ORDER
   VUBEOLOGY, INC., et al.,
                  Defendants.




                                      2
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 3 of 25 PageID: 877




    WAG ACQUISTION, LLC,
                          Plaintiff,                       Civil Action No. 15-3581 (ES) (JAD)
                          v.                               OPINION & ORDER
    WEBPOWER, INC., et al.,
                        Defendants.




SALAS, DISTRICT JUDGE

        Before the Court are motions to dismiss in eight patent infringement actions filed by

Plaintiff WAG Acquisition, LLC (“WAG”). Seven of these cases were consolidated into Civil

Action No. 14-2340 for purposes of discovery on October 6, 2014. 1 (D.E. No. 45, Consolidation

Order). 2 In addition to the consolidated cases, WAG filed a Complaint involving the patents-in-

suit against WebPower, Inc. (“WebPower”) on May 27, 2015. (Civil Action No. 15-3581, D.E.

No. 1, WebPower Complaint).

        Defendants in the seven consolidated cases have jointly moved to dismiss Plaintiff’s

Complaints. (D.E. No. 48). WebPower moved separately to dismiss in its action, (Civil Action

No. 15-3581, D.E. No. 9), and the parties have requested that the Court consider WebPower’s




1
  WAG Acquisition, LLC v. Sobonito Investments, Ltd., et al., Civil Action No. 14-1661 (“Sobonito”); WAG
Acquisition, LLC v. Multi Media LLC, et al., Civil Action No. 14-2340 (“Multi Media”); WAG Acquisition,
LLC v. Data Conversions, Inc. et al., Civil Action No. 14-2345 (“Data Conversions”); WAG Acquisition,
LLC v. Flying Crocodile, Inc., et al., Civil Action No. 14-2674 (“Flying Crocodile”); WAG Acquisition,
LLC v. Gattyan Group S.a.r.l., et al., Civil Action No. 14-2832 (“Gattyan”); WAG Acquisition LLC v.
FriendFinder Networks Inc., et al., Civil Action No. 14-3456 (“FriendFinder”); and WAG Acquisition, LLC
v. Vubeology, Inc., et al., Civil Action No. 14-4531 (“Vubeology”). There was originally an eighth
consolidated case, WAG Acquisition, LLC v. MFCXY, Inc., et al. (“MFCXY”), but it was voluntarily
dismissed on May 8, 2015. (See Civil Action No. 14-3196, D.E. No. 48).
2
  Unless otherwise specified, docket entry numbers refer to the consolidated action, Civil Action No. 14-
2340.

                                                   3
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 4 of 25 PageID: 878




motion to dismiss in conjunction with the consolidated motion. (Civil Action No. 15-3581, D.E.

No. 13, June 29, 2015 Letter).

        Defendants argue that the Court should dismiss WAG’s Complaints because the claims of

the patents-in-suit are invalid and/or unenforceable and because WAG has failed to sufficiently

allege direct infringement, induced infringement, contributory infringement, and willful

infringement.    Defendant Coolvision in the Sobonito matter also moves to dismiss for lack of

personal jurisdiction. The Court has considered the parties submissions in connection with their

motions, as well as the oral arguments presented to the Court on July 29, 2015. For the reasons

below, the Court denies Defendants’ motions to dismiss and orders limited discovery regarding

the Court’s personal jurisdiction over Defendant Coolvision.

I.      FACTUAL BACKGROUND

        WAG is a “New Jersey business that provides Internet streaming services to proprietors of

traditional radio stations—retransmitting (“streaming”) the radio station’s live programming over

the Internet.” (D.E. No. 49, Plaintiff’s Brief in Opposition to Defendants’ Joint Motion to Dismiss

(“Pl. Opp. Br.”) at 2). Defendants “primarily operate paid live ‘web cam’ sites on the Internet.”

(Id. at 3).

        WAG contends that, during the course of its business, it developed patents to improve the

experience of streaming over the Internet. (Id. at 2). WAG has asserted four of these patents in

this litigation: U.S. Patent No. 8,122,141 (“the ‘141 patent”), U.S. Patent No. 8,327,011 (“the ‘011

patent”), U.S. Patent No. 8,185,611 (“the ‘611 patent”), and U.S. Patent No. 8,364,839 (“the ‘839

patent”). 3 WAG currently practices the ‘611 and ‘839 patents. (Id. at 3).




3
  WAG has asserted the ‘141 and ‘011 patents against all Defendants. It has asserted the ‘611 patent and
‘839 patent only in the Sonbonito, Flying Crocodile, Gattyan, FriendFinder, and WebPower cases.

                                                   4
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 5 of 25 PageID: 879




        According to WAG, its patents “provide two separate and distinct types of solutions to the

problem of reliable and timely Internet media transport.” (Id. at 5). The ‘839 and ‘611 patents are

directed to a “buffering” solution, which employs a user buffer and server buffer, and in which the

control of data flow for streaming is mediated by the server. (Id.). The ‘141 and ‘011 patents

provide a “pull implementation” solution “in which the server regulates the flow of data based on

receiving requests from the client.” (Id.). WAG argues that the technology that “Defendants use

to stream their video is WAG’s technology, covered by the patents-in-suit.” (Id. at 4).

II.     LEGAL STANDARD

        For a complaint to survive dismissal pursuant to Federal Rule of Civil Procedure 12(b)(6),

it “must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556).

        In evaluating the sufficiency of a complaint, a court must “accept all well-pleaded

allegations in the complaint as true and . . . draw all reasonable inferences in favor of the non-

moving party.” See Phillips v. Cnty. of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008). However,

“the tenet that a court must accept as true all of the allegations contained in a complaint is

inapplicable to legal conclusions,” and “[a] pleading that offers ‘labels and conclusions’ or ‘a

formulaic recitation of the elements of a cause of action will not do.’” Iqbal, 556 U.S. at 678

(quoting Twombly, 550 U.S. at 555).




                                                    5
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 6 of 25 PageID: 880




III.   DISCUSSION

       a. Unenforceability of ‘141 Patent Claims

       Defendants argue that claims 1-18 and 23-28 of the ‘141 patent are unenforceable as a

matter of law because they erroneously include the phrase “such as the Internet” even though that

phrase was deleted as part of an Examiner’s Amendment during the patent’s prosecution. (D.E.

No. 48, Joint Motion to Dismiss Plaintiff’s Complaints (“Def. Mov. Br.”) at 6-8). Specifically,

Defendants argue that the “Federal Circuit’s Overstock decision explains that claims in an issued

patent that are not the allowed claims—e.g., do not reflect the claim language allowed by the

PTO—are not enforceable as a matter of law.” (Id. at 8 (citing H-W Tech. LC v. Overstock.com,

Inc., 758 F.3d 1329, 1335 (Fed. Cir. 2014))). They argue that, to decide this issue, the Court must

consider the following inquiries: (1) Did the ‘141 patent issue with erroneous claims? (2) Does

the Court have the authority to correct the errors in such claims? (3) Can WAG assert the claims

prior to correction? (D.E. No. 50, Joint Reply Brief in Support of Motion to Dismiss Plaintiff’s

Complaints (“Def. Rep. Br.”) at 1). Defendants make clear that they are not asking the Court to

analyze the validity of the claims as asserted—but rather to find that WAG cannot even assert the

claims to begin with. (Id.). The Court will consider each question in turn.

       First, there is no dispute that the ‘141 patent issued with claim language that was deleted

during an Examiner’s Amendment. On September 29, 2011, the Patent Examiner conducted a

telephone interview in which he “informed applicant’s representative of the potential 112 issues

in the independent claims and suggested an examiner’s amendment to address the issues.

Applicant’s attorney agreed to allow the examiner to amend claims 1, 10, and 24 by removing the

phrase ‘such as the internet.’” (D.E. No. 48-9, 9/29/2011 Examiner-Initiated Interview Summary).

Accordingly, an Examiner’s Amendment issued on the same date deleting the phrase “such as the



                                                6
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 7 of 25 PageID: 881




Internet” from the agreed-upon claims. (D.E. No. 48-9, 9/29/2011 Examiner’s Amendment).

Despite the Examiner’s Amendment, the ‘141 patent issued with the phrase “such as the Internet”

in claims 1, 10, and 24. (‘141 patent at 13:24, 13:64, 15:9). Though WAG stated at oral argument

that the inclusion of the phrase is not technically “erroneous” because it is accurate and appears in

other patents, it does not dispute that the ‘141 patent issued with language different from what was

agreed to during prosecution. (7/29/2015 Oral Argument Transcript (“Tr.”) at 48:21-49:7; 51:13-

15). Thus, the Court is satisfied that the inclusion of the phrase “such as the Internet” in claims 1,

10, and 24 of the ‘141 patent constitutes an error.

        Second, accepting that there is an error, there is also no dispute that the Court does not have

authority to correct the claims. The Federal Circuit has held that “the district court can correct an

error only if the error is evident from the face of the patent.” Grp. One, Ltd. v. Hallmark Cards,

Inc., 407 F.3d 1297, 1303 (Fed. Cir. 2005) (citing Novo Indus., L.P. v. Micro Molds Corp., 350

F.3d 1348, 1357 (Fed. Cir. 2003)). If, however, “a reader of the patent at issue . . . could not

ascertain the error from the face of the patent,” then the district court is without authority to correct

it. Id. Here, the alleged error is not evident from the face of the patent. A reader of the ‘141 patent

would not be able to discern that the phrase “such as the Internet” should not be included in certain

claims. The claim language reads coherently as printed. Accordingly, the Court is without

authority to make the correction.

        The heart of the dispute, therefore, is whether WAG may assert the ‘141 patent claims prior

to correction. Defendants argue that WAG may not assert the uncorrected claims because “claims

in an issued patent that are not the allowed claims—e.g., do not reflect the claim language as

allowed by the PTO—are not enforceable as a matter of law.” (Def. Mov. Br. at 8). Defendants

rely on H-W Tech., L.C. v. Overstock.com, Inc., 758 F.3d 1329, 1335 (Fed. Cir. 2014), which states



                                                   7
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 8 of 25 PageID: 882




that when “a claim issues that omits a material limitation, and such omission is not evident on the

face of the patent, the patentee cannot assert that claim until it has been corrected by the PTO.”

758 F.3d at 1335. According to Defendants, WAG is therefore required to obtain a PTO correction

of the erroneous ‘141 claims pursuant to 35 U.S.C. § 254 before asserting them in litigation. (Tr.

at 47:1-4). In response, WAG argues that H-W only applies when a claim is erroneous because it

omits a material limitation. (Pl. Opp. Br. at 11). WAG argues that H-W does not bar the assertion

of claims like those in the ‘141 patent because (1) the error is not an omission; and (2) the error is

immaterial. (Id. at 10-14).

           The Court agrees with Plaintiff that H-W does not bar the assertion of the disputed

claims in the ‘141 patent. In H-W, the claim at issue was “[a] method for performing contextual

searches on an Internet Phone (IP) phone comprising the following steps . . . .” H-W, 758 F.3d at

3333. The claim approved by the PTO included the step “wherein said user completes a transaction

with at least one of said merchants listed without the need to generate a voice call,” but the patent

issued without that limitation. Id. The Federal Circuit agreed that the district court could not

correct the claim, and held that the claim could not be asserted uncorrected because it “omits a

material limitation, and such omission is not evident on the face of the patent.” The Federal Circuit

reasoned that permitting the patentee to assert the claim “would be inequitable and undermine the

notice function of patents.” Id. at 1335.

       Here, by contrast, there was no omission of a material limitation. In describing his basis

for deleting the phrase, the Patent Examiner states that he “[i]nformed applicant’s representative

of the potential 112 issues in the independent claims and suggested an examiner’s amendment to

address the issues. Applicant’s attorney agreed to allow the examiner to amend claims 1, 10 and

24 by removing the phrase ‘such as the internet.’” (D.E. No. 48-9, 9/29/2011 Examiner’s



                                                  8
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 9 of 25 PageID: 883




Amendment). The Patent Examiner did not suggest—and neither party has asserted—that the

phrase “such as the Internet” alters the scope of the claims. As WAG points out, the phrase “such

as the Internet” “only serves to qualify, i.e., limit the scope of, the phrase that it modifies (‘data

communications medium’).” (Pl. Opp. Br. at 14). This error is therefore distinguishable from the

error in H-W, where the error broadened the scope of the patent claim.

       Defendants have cited no case suggesting that any claim with an uncorrected error is

unenforceable as a matter of law. In fact, the cases that Defendants rely on are inapposite, and

they reveal that courts have not held patent claims unenforceable simply because they contain

uncorrected errors. For example, in Group One, as here, the plaintiff did not seek a certificate of

correction to address an error that was “correctable by the PTO” under § 254. 407 F.3d at 1302.

The Federal Circuit upheld the district court’s determination that (1) it was without authority to

make the correction, and (2) the patent was invalid because “the missing language [was] essential

to the validity of [the claim], and Group One has made no claim that the omitted language is not

essential to validity.” Id. at 1303. Notably, the Federal Circuit did not hold that the uncorrected

claim was unenforceable as a matter of law; it merely held that the asserted, uncorrected claim was

invalid on the merits. Id. Similarly, in Novo Industries, the Federal Circuit upheld the District

Court’s decision not to correct an error that added a full claim element, and determined that the

uncorrected claim was “invalid for indefiniteness in its present form.” 350 F.3d at 1356. Again,

the Federal Circuit’s holding was based on invalidity. Id. There is nothing to suggest that the

plaintiff was barred from asserting the claims, or that the error rendered the uncorrected claims

unenforceable as a matter of law. Id.

       In this case, Defendants have explicitly stated that they are not arguing that the inclusion

of the phrase “such as the Internet” renders the ‘141 claims invalid as indefinite or otherwise. (Def.



                                                  9
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 10 of 25 PageID: 884




 Rep. Br. at 1). Instead, they argue that it is strictly unenforceable as a matter of law. (Def. Mov.

 Br. at 8). Because the Court does not agree that the inclusion of the phrase “such as the Internet”

 renders the ‘141 claims unenforceable as a matter of law, Defendants’ motion to dismiss these

 claims is denied.

         b. § 101 Subject Matter

         Next, Defendants argue that the patents should be dismissed because they are directed to

 ineligible subject matter pursuant to 35 U.S.C. § 101. Section 101 of the Patent Act defines the

 scope of eligible subject matter as “any new and useful process, machine, manufacture, or

 composition of matter, or any new and useful improvement thereof.” 35 U.S.C. § 101. However,

 the Supreme Court has “long held that this provision contains an important implicit exception:

 Laws of nature, natural phenomena, and abstract ideas are not patentable.” Alice Corp. Pty. Ltd.

 v. CLS Bank Int’l, 134 S. Ct. 2347, 2354 (2014) (quoting Assoc. for Molecular Pathology v. Myriad

 Genetics, Inc., 133 S. Ct. 2107, 2116 (2013)). Defendants argue that the patents cover the “abstract

 idea” of “maintaining streaming media data over the Internet.” (WebPower Mov. Br. at 6). WAG

 argues that it is premature for the Court to determine § 101 eligibility at this stage of the litigation,

 prior to claim construction. (Pl. Opp. Br. at 21). Alternatively, it argues that the patents are not

 invalid under § 101. (Id. at 22-43).

         The Supreme Court has set forth a two-part framework for distinguishing patent-eligible

 and patent-ineligible subject matter. Alice, 134 S. Ct. at 2355. First, the Court must “determine

 whether the claims at issue are directed to one of those patent-ineligible concepts.” Id. (citing

 Mayo Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1296-97 (2012)). If yes,

 the court must then “consider the elements of each claim both individually and as an ‘ordered

 combination’ to determine whether the additional steps ‘transform the nature of the claim’ into a



                                                    10
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 11 of 25 PageID: 885




 patent-eligible application.” Id. (citing Mayo, 132 S. Ct. at 1298, 1297). Step two of the analysis

 is known as search for the “inventive concept,” which is “an element or combination of elements

 that is sufficient ‘to ensure that the patent in practice amounts to significantly more than a patent

 upon the [ineligible concept] itself.” Id. (citing Mayo, 132 S. Ct. at 1294).

        The Court recognizes that “claim construction is not an inviolable prerequisite to a validity

 determination under 101.” Content Extraction and Transmission LLC v. Wells Fargo Bank, 776

 F.3d 1343, 1349 (Fed. Cir. 2014). Nevertheless, the Federal Circuit has instructed that “it will

 ordinarily be desirable—and often necessary—to resolve claim construction disputes prior to a

 § 101 analysis, for the determination of patent eligibility requires a full understanding of the basic

 character of the claimed subject matter.” BanCorp Servs., LLC v. Sun Life Assurance Co. of

 Canada, 687 F.3d 1266, 1273-74 (Fed. Cir. 2012). Indeed, “[i]f the Court is going to invalidate

 [the patent-in-suit] on subject matter eligibility grounds before claim construction, then

 Defendants must establish that the only plausible construction [i]s one that . . . renders the subject

 matter ineligible (with no factual inquiries).” Data Distribution Technologies, LLC v. Brer

 Affiliates, Inc., No. 12-4878, 2014 WL 4162765, at *6 (D.N.J. Aug. 19, 2014). Accordingly, “it

 will be rare that a patent infringement suit can be dismissed at the pleading stage for lack of

 patentable subject matter.” Ultramercial, Inc. v. Hulu, LLC, 722 F.3d 1335, 1338 (Fed. Cir. 2013)

 (cert. granted, judgment vacated sub nom. WildTangent, Inc. v. Ultramerical, LLC, 134 S. Ct.

 2870 (2014)).

        Defendants argue that the Court can—and should—address § 101 eligibility at this stage,

 and they direct the Court to several cases taking that approach. (Def. Mov. Br. at 11-12 (citing,

 inter alia, Content Extraction & Transmission LLC v. Wells Fargo Bank, 2013 WL 3964909

 (D.N.J. Jul. 31, 2013); Glory Licensing LLC v. Toys R US, Inc., 2011 U.S. Dist. LEXIS 51888



                                                  11
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 12 of 25 PageID: 886




 (D.N.J. May 16, 2011)). 4 WAG contends that the Court should defer ruling on § 101 eligibility

 until after claim construction, and directs the Court to cases that in which a § 101 ruling was

 “deferred in order to further develop the record.” (D.E. No. 16, Plaintiff’s Brief in Opposition to

 Defendant WebPower Inc.’s Motion to Dismiss (“WebPower Opp. Br.”) at 34-35 n.8 (collecting

 cases)). There is no dispute that courts have taken both approaches.

         The Court agrees with WAG that claim construction is necessary in this case before it can

 determine whether WAG’s patents are invalid under § 101. It is clear to the Court from the parties’

 submissions and oral argument that the parties vigorously dispute the basic character and meaning

 of the claims. Indeed, WAG has stated that “the parties disagree on key areas of interpretation,

 including the fundamental question of what WAG’s patents are about.” (Pl. Opp. Br. at 22).

 Despite this, the parties have not set forth stipulated representative claims or proposed

 constructions for the Court to review. As such, the Court cannot “fairly apply Alice, particularly

 at step two, by attempting to conjure up all plausible claim constructions at this pleadings stage in

 the absence of stipulated constructions or at least Plaintiff’s proposed constructions of its own

 patent.” See Data Distribution, 2014 WL 4162765, at *11. Because resolving the parties’ disputes

 about the basic character and meaning of the claims requires claim construction, Defendants’

 motion to dismiss under § 101 is denied. See Nomadix, Inc. v. Hospitality Core Servs. LLC, No.

 14-08256, 2015 WL 1525537, at *2 (C.D. Cal. Apr. 3, 2015) (denying § 101 argument on motion




 4
   Though not raised in their moving brief, Defendants also relied heavily on Wireless Media Innovations,
 LLC v. Maher Terminals, LLC, No. 14-7004, 2015 WL 1810378 (D.N.J. Apr. 20, 2015), in the WebPower
 brief and at oral argument. (See WebPower Mov. Br. at 4-5; Tr. at 67:3-68:11; 86:8-15). In Wireless
 Media, the court determined that patents were directed to the abstract idea of “monitoring locations,
 movement, and load status of shipping containers within a container-receiving yard, and storing, reporting
 and communicating this information in various forms through generic computer functions.” Wireless
 Media Innovations, 2015 WL 1810378, at *8. Significantly, however, it first determined that “even if the
 Court construes all claim terms in a manner most favorable to Plaintiff, it would still find that none of the
 claims survive § 101.” Id. at *5. That is not the case here.

                                                      12
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 13 of 25 PageID: 887




 to dismiss because “[a]though the [c]ourt has the patents in question before it right now . . . the

 exact functioning of the patented systems has not yet been fully briefed.”); StoneEagle Servs., Inc.

 v. Pay-Plus Solutions, Inc., No. 13-2240, 2015 WL 518852, at *4 (M.D. Fl. Feb. 9, 2015) (denying

 motion to dismiss on § 101 grounds as “premature” where “the parties dispute the basic character

 of the claimed subject matter”).

        c. Direct Infringement

        Defendants next argue that WAG’s Complaints must be dismissed for failure to adequately

 plead direct infringement. (Def. Mov. Br. at 23). Pursuant to 35 U.S.C. § 271(a), “whoever

 without authority makes, uses, offers to sell, or sells any patented invention, within the United

 States or imports into the United States any patented invention during the term of the patent

 therefor, infringes the patent.” 35 U.S.C. § 271(a).

        Defendants first argue that WAG’s direct infringement allegations fail because they refer

 generally to “Defendants.” (Def. Mov. Br. at 23-35). Specifically, they argue that WAG “must

 separately plead direct infringement as to each separate defendant.” (Id. at 24). They rely on

 Richmond v. Lumisol Electrical Ltd., No. 13-1944, 2014 WL 1405159, at *3 (D.N.J. Apr. 10,

 2014), in which the court held that the plaintiff’s complaint was deficient and that “[p]laintiff’s

 allegations should be broken into separate counts linking each individual Defendant with a

 violation of a single patent.” 2014 WL 1405159, at *3. However, a closer review of Richmond

 reveals that the complaint at issue in that case is easily distinguishable from WAG’s Complaints

 here. The court in Richmond noted that the complaint was a “shot-gun, one-count Complaint” in

 which the plaintiff “lumps his direct infringement and indirect infringement claims into one

 lengthy and rambling count.” Id. The court’s instructions were directed to the plaintiff in that case

 “[i]f [p]laintiff seeks to amend his Complaint.” Id. The court did not state that the instruction



                                                  13
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 14 of 25 PageID: 888




 reflects a pleading requirement applicable to all patent cases. In fact, it specifically noted that it

 “writes only for the parties.” Id. at *1.

        Here, by contrast, WAG breaks out its claims by patent and infringement type, and it simply

 alleges that “Defendants” are responsible in each count. (See, e.g., Sobonito Compl. ¶¶ 61-76

 (alleging direct infringement of ‘141 patent claims against “Defendants”)). Courts have held that

 complaints with similar allegations are sufficient to withstand a motion to dismiss. See, e.g.,

 WesternGeco LLC v. Ion Geophysical Corp., 776 F. Supp. 2d 342, 363 (S.D. Tex. 2011) (“The

 Federal Circuit has approved the use of a collective term within a complaint to refer to acts of all

 defendants without distinction among the exact infringing acts performed by each one” (citing

 McZeal v. Sprint Nextel Corp., 501 F. 3d 1354, 1357 (Fed. Cir. 2007)). The Court is satisfied that

 WAG’s reference to “Defendants” in WAG’s Complaints means each individual Defendant, and

 that the Complaint is sufficient to put Defendants on notice of the alleged infringement.

            Next, Defendants argue that WAG’s Complaints must be dismissed because WAG does

 not specifically show how Defendants make or use the claimed inventions. (Def. Mov. Br. at 27-

 44).   Specifically, Defendants contend that end-users—not Defendants—“use” the patented

 inventions because “use” occurs “where control of the system is exercised and beneficial use of

 the system obtained.” (Id. at 30 (citing NTP, Inc. v. Research In Motion, Ltd., 418 F.3d 1282 (Fed.

 Cir. 2005)).

        The Court declines to dismiss Plaintiff’s direct infringement claims on this ground. As

 recently as July 21, 2015, the Federal Circuit has held that “[a] motion to dismiss a claim of direct

 infringement . . . will not be granted if the complaint follows Form 18.”             Addiction and

 Detoxification Inst. LLC v. Carpenter, 2015 WL 4430128, at *2 (Fed. Cir. July 21, 2015) (citing

 In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681 F.3d 1323, 1331 (Fed. Cir.



                                                  14
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 15 of 25 PageID: 889




 2012)). 5 “Form 18 and the Federal Rules of Civil Procedure do not require a plaintiff to plead

 facts establishing that each element of an asserted claim is met” or “even identify which claims it

 asserts are being infringed.” In re Bill of Lading, 681 F.3d at 1331 (internal citation omitted).

 Rather, a complaint complies with Form 18 if it includes “(1) an allegation of jurisdiction; (2) a

 statement that the plaintiff owns the patent; (3) a statement that defendant has been infringing the

 patent ‘by making, selling, and using [the device] embodying the patent’; (4) a statement that the

 plaintiff has given the defendant notice of its infringement; and (5) a demand for an injunction and

 damages.” K–Tech Telecomm’n, Inc. v. Time Warner Cable, Inc., 714 F.3d 1277, 1283 (Fed. Cir.

 2013) (internal citation omitted). In addition, “to the extent any conflict exists between Twombly

 (and its progeny) and the Forms regarding pleadings requirements, the Forms control.” Id.

        Here, WAG’s complaints not only satisfy the basic requirements of Form 18, but also the

 heightened the pleading standard of Twombly. With respect to Form 18, WAG’s Complaints each

 allege subject matter and personal jurisdiction. (See, e.g., Sobonito Compl. ¶¶ 6-7). WAG’s

 complaints further allege that WAG owns the patents-in-suit. (See, e.g., id. ¶¶ 13). They allege

 that Defendants have been infringing the patents-in-suit “by making, selling, and using [the device]

 embodying the patent.” (See, e.g., id. ¶¶ 63, 98-99, 124, 129). They allege that Plaintiff has given

 Defendants notice of its infringement. (See, e.g., id. ¶¶ 59-60). Finally, they demand an injunction

 and damages. (See, e.g., id. at 40, Prayer for Relief).

        Moreover, WAG’s complaints meet the standard of Twombly and Iqbal because they

 “contain sufficient factual allegations such that a reasonable court could, assuming the allegations


 5
    As Defendants pointed out at oral argument, the Judicial Conference of the United States recently
 recommended the elimination of the Model Forms in the Federal Rules of Civil Procedure. However, the
 recent use of Form 18’s pleading standard by the Federal Circuit suggests its continued relevancy. See
 Addiction and Detoxification, 2015 WL 4430128, at *2. In any event, the Court’s determination that
 WAG’s direct infringement claims are sufficient is based both on its compliance with Form 18, as well as
 its compliance with the pleading standards of Iqbal and Twombly.

                                                   15
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 16 of 25 PageID: 890




 were true, conclude that the defendant infringed.” See Addiction and Detoxification, 2015 WL

 4430128, at *2. In each of its Complaints, WAG includes detailed allegations of why Defendants

 infringe specific claims in each of the patents asserted. (See, e.g., Sobonito Compl. ¶¶ 66-76; 99-

 102; 124-25; 129-30). For example, in its Sobonito Complaint, WAG alleges that Defendants

 infringe claims 1-8 and 28 of the ‘141 patent, which are directed to providing a server and software

 to run media players. (Id. ¶ 67). WAG includes, inter alia, the following specific allegations:

 “Defendants provide servers that meet the first set of requirements recited in these claims. Through

 such servers, Defendants direct and control users’ Players (as further alleged below) to provide

 Player Software in accordance with the second set of requirements recited in these claims. By

 performing these steps (which together comprise all of the steps of the claims), Defendants thereby

 directly infringe claims 1-8 and 28 of the ‘141 patent.” (Id.). This type of detailed pleading is

 found throughout WAG’s Complaints, and it is more than sufficient for purposes of pleading direct

 infringement. See, e.g., Bel Fuse Inc. v. Molex Inc., 27 F. Supp. 3d 557, 562 (D.N.J. 2014);

 Demodulation, Inc. v. Applied DNA Sciences, Inc., No. 11-296, 2012 WL 6204172, at *12 (D.N.J.

 Dec. 12, 2012).    Though Defendants argue that end-users “use” the patented system and not

 Defendants, WAG’s Complaints plausibly allege otherwise.           Accordingly, the Court denies

 Defendants’ motions to dismiss WAG’s direct infringement claims.

        d. Inducement

        Defendants’ argue that WAG’s claims for inducement must be dismissed because WAG

 does not sufficiently allege knowledge or specific intent. (Def. Mov. Br. at 44). Under 35 U.S.C.

 § 271(b), “[w]hoever actively induces infringement of a patent shall be liable as an infringer.” 35

 U.S.C. § 271(b). The Supreme Court has held that “knowledge is needed for induced infringement

 under § 271(b).” Global-Tech Appliances, Inc. v. SEB S.A., 131 S. Ct. 2060, 2068 (2011).



                                                 16
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 17 of 25 PageID: 891




 Recently, the Supreme Court clarified that the “knowledge” required for inducement includes both

 knowledge of the patent and knowledge of infringement. Commil USA, LLC v. Cisco Sys., Inc.,

 135 S. Ct. 1920, 1926 (2015). Thus, to “sufficiently plead induced infringement, [the Complaints]

 must contain facts plausibly showing that [Defendants] specifically intended their customers to

 infringe the . . . patent[s] and knew that the customer’s acts constituted infringement.” In re Bill

 of Lading, 681 F.3d at 1339. 6 “This does not mean, however, that [WAG] must prove its case at

 the pleading stage.” Id.

         Defendants argue that WAG has not adequately alleged Defendants’ specific intent to

 encourage others to infringe, nor its knowledge that users’ actions constituted infringement. (Def.

 Mov. Br. at 51). The Court disagrees. The induced infringement counts involve patent claims to

 a users’ player and player software. (See, e.g., Sobonito Compl. ¶¶ 77-86, 105-113). WAG alleges

 that Defendants know that users employ the infringing media players and player software, and that

 they intend this consequence or are willfully blind to it. (See, e.g., Gattyan Compl. ¶ 77; see also

 Sobonito Compl. ¶ 85 (“Defendants have engaged in such inducement with knowledge of the ‘141

 patent; with knowledge that users’ Players use Player Software meeting the limitations of [the

 claims]; with knowledge that the users directly infringe [the claims] when they use Player



 6
   WAG alleges that Defendants had pre-suit knowledge of infringement in two of the cases: WebPower
 and Vubeology. For the remainder of cases, WAG relies on post-suit knowledge. In their brief, Defendants
 argue that post-suit knowledge is not sufficient for purposes of alleging inducement, however they did not
 raise this argument at oral argument before the Court, and district courts in this Circuit have routinely
 determined that post-suit knowledge is sufficient. See, e.g., Softview LLC v. Apple Inc., No. 10-389, 2012
 WL 3061027, at *7 (D. Del. July 6, 2013) (“the filing of a complaint is sufficient to provide knowledge of
 the patents-in-suit for purposes of stating a claim for indirect infringement occurring after the filing date.”);
 Walker Digital v. Facebook, Inc., 852 F. Supp. 2d 559, 565-566 (D. Del. 2012) (same). The Court finds
 these cases persuasive. As the court in Softview held, “an accused infringer is on notice of the patents(s)-
 in-suit once an initial pleading identifies the patents-in-suit, and a patentee that successfully proves the
 remaining legal elements of indirect infringement is entitled to recover for any post-filing indirect
 infringement of those patents.” Softview, 2012 WL 3061027, at *7. Accordingly, the Court determines
 that WAG’s allegations of pre-suit and post-suit knowledge could both be sufficient and focuses on
 Defendants’ arguments that such knowledge is not pled with adequate specificity.

                                                        17
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 18 of 25 PageID: 892




 Software; with knowledge of how Defendants’ conduct actively induces users to infringe the ‘141

 patent by Player Software; and with the specific intent to cause such infringement, knowing that

 the users’ acts constitute direct infringement of the ‘141 patent.”)). These facts plausibly give rise

 to the conclusion that Defendants induced infringement of WAG’s patents. See Walker Digital,

 852 F. Supp. 2d at 556. As a result, the Court denies Defendants’ motions to dismiss WAG’s

 claims for inducement.

        e. Contributory infringement

        Defendants argue that WAG’s contributory infringement claims should be dismissed

 because WAG has not alleged knowledge and because WAG has not sufficiently alleged that

 Defendants provided a component with substantial non-infringing use. Under 35 U.S.C. § 271(c),

 [w]hoever offers to sell or sells within the United States or imports into the United States a

 component of a patented machine, manufacture, combination or composition, or a material or

 apparatus for use in practicing a patented process, constituting a material part of the invention,

 knowing the same to be especially made or especially adapted for use in an infringement of such

 patent, and not a staple article or commodity of commerce suitable for substantial noninfringing

 use, shall be liable as a contributory infringer.” 35 U.S.C. § 271(c).

        As an initial matter, the Court concluded with respect to WAG’s inducement claims that

 WAG had sufficiently alleged knowledge for the purposes of indirect infringement. (See, supra,

 Section III.d). That determination applies to WAG’s claim for contributory infringement as well.

 Thus, the Court only addresses Defendants’ argument that WAG has not sufficiently alleged that

 Defendants provided a component with a substantial non-infringing use.

        Defendants argue that WAG has not pled contributory infringement because, as a matter

 of law, the Downloaded Software that WAG alleges is a “component” of the claimed invention



                                                  18
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 19 of 25 PageID: 893




 cannot constitute a “component.” (Def. Mov. Br. at 56). In support of this proposition, Defendants

 rely on Microsoft Corp. v. AT&T Corp., 127 S. Ct. 1746 (2007), which held that software did not

 constitute a component under 35 U.S.C. 271(f) unless it was embodied in a tangible copy. 7

         WAG appears to agree with Defendants’ characterization of Microsoft, and argues that

 “WAG’s complaints allege that Defendants create such a copy by including this software along

 with their web pages, which creates a tangible copy when received by the user’s player or

 browser.” (Pl. Opp. Br. at 70). It alleges that “[p]roviding the software on the user’s player or

 browser is sufficient under § 271(c).” (Id.). In reply, Defendants point out that WAG is only

 arguing that a tangible copy is created when received by the user’s player or browser—but there

 is still no allegation that Defendants have offered for sale, sold, or imported a physical component.

         The Court agrees with WAG that it has sufficiently pled contributory infringement under

 § 271(c). WAG specifically alleges that Defendants “have offered to sell or sold within the United

 States or imported into the United States the ImLive Downloaded Software” and that the

 “Downloaded Software constitutes a component of a patented machine, manufacture, combination

 or composition, or a material apparatus for use in practicing a patented process, constituting a

 material part of the invention.” (See, e.g., Sobonito Compl. ¶¶ 117-18). Defendants’ argument

 that the Downloaded Software is not in a tangible form, (see Def. Rep. Br. at 22-23), requires the



 7
   The Court notes that the Microsoft decision considered the meaning of the term “component” in the
 context of 35 U.S.C. § 271(f), which provides that “[w]hoever without authority supplies or causes to be
 supplied in or from the United States all or a substantial portion of the components of a patented invention,
 where such components are uncombined in whole or in part, in such manner as to actively induce the
 combination of such components outside of the United States in a manner that would infringe the patent if
 such combination occurred within the United States, shall be liable as an infringer.” 35 U.S.C. § 271(f).
 At oral argument, WAG argued (and Defendants conceded) that Defendants had not directed the Court to
 any cases applying the Microsoft holding in the context of § 271(c). However, the Court does not need to
 reach whether Microsoft’s holding applies to § 271(c), as it determines that WAG’s pleadings are
 sufficiently specific for purposes of a motion to dismiss.



                                                      19
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 20 of 25 PageID: 894




 Court to look outside the scope of the pleadings. It would be overly stringent to require WAG to,

 at this stage, explain precisely how the Downloaded Software constitutes a component.

 Accordingly, WAG’s contributory infringement claims are permitted to proceed.

        f. Willfulness

        Next, Defendants argue that WAG should not be permitted to assert claims of willful

 infringement because (1) it has not alleged any pre-filing willful activity and (2) cannot rely on

 post-filing activity because it did not seek a preliminary injunction. (Def. Mov. Br. at 56-57).

 WAG does not dispute that it relies solely on post-filing conduct, but it asserts that the fact that it

 did not seek a preliminary injunction does not bar it from asserting willfulness claims. (Pl. Opp.

 Br. at 72-73).

        The parties’ disagreement arises from their conflicting interpretations of In re Seagate, 497

 F.3d 1360 (Fed. Cir. 2007). Defendants argue that Seagate prohibits plaintiffs from alleging

 willful infringement based solely on post-filing conduct unless they also seek a preliminary

 injunction. (Def. Mov. Br. at 57). WAG argues that Seagate does not establish a per se rule, and

 it further argues that the fact that it did not move for a preliminary injunction does not make the

 allegation of willful infringement any less plausible in this case. (Pl. Opp. Br. at 73).

        District courts that have considered this issue have reached diverging conclusions. Several

 courts have barred plaintiffs from asserting willfulness claims based on post-filing conduct absent

 a preliminary injunction. See, e.g., McRo, Inc. v. Namco Bandai Games Am., Inc., 23 F. Supp. 3d

 113, 1123-24 (C.D. Cal. July 11, 2013); Execware, LLC v. Staples, Inc., No. 11-836, 2012 WL

 6138340, at *6 (D. Del. Dec. 10, 2012). Other courts have permitted such claims to proceed. See,

 e.g., Englishtown, Inc. v. Rosetta Stone Inc., 962 F. Supp. 2d 355, 359 (D. Mass. 2013); DataQuill

 Ltd. V. High Tech Computer Corp. 887 F. Supp. 2d 999, 1015-16 (S.D. Cal. 2011).



                                                   20
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 21 of 25 PageID: 895




        The Court begins its analysis with the language of In re Seagate. There, the Federal Circuit

 held that

                [A] willfulness claim asserted in the original complaint must
                necessarily be grounded exclusively in the accused infringer’s pre-
                filing conduct. By contrast, when an accused infringer’s post-filing
                conduct is reckless, a patentee can move for a preliminary
                injunction, which generally provides an adequate remedy for
                combating post-filing willful infringement. . . . A patentee who does
                not attempt to stop an accused infringer’s activities in this manner
                should not be allowed to accrue enhanced damages based solely on
                the infringer’s post-filing conduct.

 In re Seagate, 497 F.3d at 1374. The Federal Circuit Court goes on to state, however, that “in

 some cases a patentee may be denied a preliminary injunction despite establishing a likelihood of

 success on the merits, such as when the remaining factors are considered and balanced. In that

 event, whether a willfulness claim based on conduct occurring solely after litigation is sustainable

 will depend on the facts of each case.” Id.

        Courts that have permitted willfulness claims to proceed absent a preliminary injunction

 have relied on the language in Seagate to recognize that “certain plaintiffs would not be eligible

 for preliminary injunctive relief, not for want of demonstrating a likelihood of success on the

 merits, but rather because they could not demonstrate that they would suffer irreparable harm

 absent injunctive relief.” Englishtown, 962 F. Supp. 2d 355 at 359. For example, there are

 circumstances, such as those alleged by WAG, where because the parties are not competitors, the

 Plaintiff’s injury is monetary. See id; (see also Pl. Opp. Br. at 71). In such cases, where injunctive

 relief is not appropriate, courts have held that it would make “little sense to implement a per se

 rule.” See Affinity Labs of Tex., LLC v. Alpine Elecs. of Am., Inc., No. 08-171, 2009 WL 0901275,

 at *4 (E.D. Tex. Sept. 2, 2009).




                                                  21
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 22 of 25 PageID: 896




            The Court is persuaded by the logic of the cases holding that there is no per se bar to

 alleging post-filing willfulness without seeking a preliminary injunction. Here, WAG has asserted

 that it does not compete with Defendants and that its damages are strictly monetary. (Pl. Opp. Br.

 at 71). It has further asserted that it could not meet the requirement of irreparable harm necessary

 to succeed on a preliminary injunction. (Id.). “The Court agrees that seeking preliminary

 injunctive relief would have been futile where there is no allegation of direct competition.” Zond,

 LLC v. Renesas Elecs. Corp., No. 13-11625, 2014 WL 4161348, at *5 (D. Mass. Aug. 15, 2014).

           At oral argument, Defendants pointed out that WAG seeks a permanent injunction in each

 of Complaints, and argued that this is inconsistent with WAG’s statement that it could not have

 obtained a preliminary injunction. (Tr. at 180:7-23). This argument is premature. Defendants

 may highlight WAG’s inconsistency if and when its entitlement to a permanent injunction is at

 issue. At this stage, the Court only needs to consider whether it would have been futile for WAG

 to seek a preliminary injunction. Because the Court accepts WAG’s contention that it would have

 been futile to seek a preliminary injunction because it could not prove irreparable harm, WAG’s

 claims for willful infringement may proceed.

           g. Personal Jurisdiction

            Defendant Coolvision 8 argues that it should be dismissed as a Defendant in this action for

 lack of personal jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2). (Def. Mov. Br.

 at 60). To determine whether jurisdiction exists over an out-of-state Defendant, the Court must

 consider two inquiries. IMO Indus. Inc. v. Kiekert AG, 155 F.3d 254, 259 (3d Cir. 1998). “First,

 the court must apply the relevant state long-arm statute to see if it permits the exercise of personal

 jurisdiction; then, the court must apply the precepts of the Due Process Clause of the Constitution.”



 8
     Coolvision is a Defendant in the Sobonito case, Civil Action No. 14-1661.

                                                      22
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 23 of 25 PageID: 897




 Id. However, because New Jersey’s long-arm statute is co-extensive with the limits of due process,

 “the two inquiries collapse into a single inquiry: whether jurisdiction comports with due process.”

 Id.

         The Court may exercise either general or specific jurisdiction over a defendant. Provident

 Nat’l Bank v. Cal. Fed. Sav. & Loan Ass’n, 819 F.2d 434 (3d Cir. 1987). It may exercise general

 personal jurisdiction over a defendant who exhibits “continuous and systematic” contacts with the

 forum state. Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414-416 (1984).

 It may exercise specific personal jurisdiction where “the plaintiff’s cause of action is related to or

 arises out of the defendant’s contacts with the forum” state. IMO, 155 F.3d at 259 (citing

 Helicopteros, 466 U.S. at 408). More specifically, a Court evaluating specific jurisdiction must

 consider whether (1) the defendant purposefully directed its activities at residents of the forum, (2)

 the claim arises out of or relates to those activities, and (3) the assertion of personal jurisdiction is

 reasonable and fair. Autogenomics, Inc. v. Oxford Gene Tech. Ltd., 566 F.3d 1012, 1018 (Fed.

 Cir. 2009). In addition, where, as here, “the parties have not conducted discovery, [the plaintiff]

 need[s] only to make a prima facie showing that [the defendant] is subject to personal jurisdiction.”

 Id. at 1017. “As such, the pleadings and affidavits are to be construed in the light most favorable

 to [the plaintiff].” Id. (internal citation omitted).

           WAG concedes that it is only arguing that the Court may exercise specific—and not

 general—jurisdiction over Defendant Coolvision. (Pl. Opp. Br. at 77). Coolvision argues that

 specific jurisdiction does not exist because Coolvision does not direct activities to New Jersey

 residents and WAG’s claims do not arise out of Coolvision’s activities. (Def. Mov. Br. at 60-68).

 Coolvision primarily relies on a declaration submitted by Coolvision’s Chief Executive Officer,

 Noam Fogel, (D.E. No. 48-3) to argue that “Coolvision simply performs some elementary tasks



                                                    23
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 24 of 25 PageID: 898




 for [www.imlive.com],” but does not “own any of the accused websites or equipment” or “perform

 any activities in New Jersey (or elsewhere) that give rise to WAG’s infringement claim.” (Def.

 Mov. Br. at 64). Coolvision argues that WAG is erroneous in asserting that Coolvision “owns and

 controls” imlive.com and its associated server infrastructure.

        WAG argues that, even accepting Fogel’s declaration as true, there are still uncontroverted

 allegations that demonstrate Coolvision’s infringement-related activities. (Pl. Opp. Br. at 79-80).

 For example, WAG points to the fact that imlive.com is transmitted over an infringing server

 located in or around Newark, NJ, (Sobonito Compl. ¶ 36), that imlive.com has numerous

 performers in New Jersey, who perform online over Defendants’ infringing services, from New

 Jersey, (id. ¶ 47), and that Defendants’ highly interactive websites have a high volume of users in

 this district which provide Defendants with substantial revenues, (id. ¶ 50). WAG also references

 that Fogel’s statement that Coolvision performs “maintenance,” “technical support,”

 “monitoring,” and “technical administration duties” for imlive.com as further support for finding

 personal jurisdiction. (Pl. Opp. Br. at 80).

        The Court determines that WAG is entitled to take jurisdictional discovery because it has

 presented “factual allegations that suggest ‘with reasonable particularity’ the possible existence of

 the requisite ‘contacts between [the party] and the forum state.” Toys “R” Us v. Step Two, S.A.,

 318 F.3d 446, 456 (3d Cir. 2003); see also Autogenomics, 556 F.3d 1012 at 1022. WAG has

 included numerous allegations that suggest that the Court has personal jurisdiction over

 Coolvision. Fogel’s declaration controverts some, but not all, of WAG’s allegations. Though the

 remaining allegations do not establish a prima facie case of personal jurisdiction, they do suggest

 with reasonable particularity that personal jurisdiction exists. As a result, the Court determines

 that limited jurisdictional discovery is proper in this case.



                                                   24
Case 2:14-cv-03456-ES-MAH Document 55 Filed 09/10/15 Page 25 of 25 PageID: 899




 IV.    CONCLUSION

        For the foregoing reasons, Defendants’ motion to dismiss the Complaint, (D.E. No. 48),

 and WebPower’s motion to dismiss the Complaint, (Civil Action No. 15-3581, D.E. No. 9), are

 both denied.

        Accordingly, it is on this 10th day of September 2015 hereby

        ORDERED that the Clerk of the Court shall terminate Defendants’ motion to dismiss in

 each of the consolidated cases; and it is further

        ORDERED that the Clerk of the Court shall terminate WebPower’s motion to dismiss in

 Civil Action No. 15-3581, D.E. No. 9.

        ORDERED that the parties shall engage in limited jurisdictional discovery regarding the

 Court’s personal jurisdiction over Defendant Coolvision.

        SO ORDERED.



                                                          s/ Esther Salas
                                                          Esther Salas, U.S.D.J.




                                                     25
